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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

SANDRA GARZA,                          )
                                       )
             Plaintiff,                )
                                       )
v.                                     )          Case No. 1:23-cv-00038 (APM)
                                       )
DONALD J. TRUMP, et al.,               )
                                       )
             Defendants.               )
                                       )

                               [PROPOSED] ORDER

      Before the Court is Defendant Donald J. Trump’s Motion to Dismiss Plaintiff’s

First Amended Complaint. For the reasons stated in the motion, the accompanying

memorandum in support, and those articulated in oral argument, and because the

Court finds good cause exists to dismiss the claims, Defendant Trump’s Motion to

Dismiss the First Amended Complaint is hereby GRANTED.

      All claims against Defendant Donald J. Trump are dismissed with prejudice.

      SO ORDERED.



Dated: _______________                      _________________________________
                                                     Hon. Amit P. Mehta
                                              United States District Court Judge
